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11
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12                          IN THE UNITED STATES DISTRICT COURT
13                               FOR THE DISTRICT OF ARIZONA
14

15   Mussalina Muhaymin as Personal                   Case No.: CV-17-04565-PHX-SMB
     Representative of the Estate of
16
     Muhammad Abdul Muhaymin Jr.,                     PLAINTIFF’S RESPONSE IN
17                                                    OPPOSITION TO DEFENDANTS’
                   Plaintiff,                         MOTION(S) TO SEAL
18                                                    (DKT. NOS. 272, 276)
19   v.

20   City of Phoenix, an Arizona Municipal
     Corporation, et al.,
21

22                 Defendants.
23

24          NOW COMES Plaintiff, Mussalina Muhaymin, as Personal Representative of the Estate
     of Muhammad Abdul Muhaymin, Jr., by and through undersigned counsel, and in opposition to
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26   Defendants’ motion to seal, states as follows:

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 1       1. On August 17, 2020, Defendants filed a Motion to Seal their (1) Motion for Summary
 2   Judgment; (2) Statement of Facts in Support of Motion for Summary Judgment; and (3) Exhibits
 3
     to Statement of Facts in Support of Motion for Summary Judgment. (Dkt. No. 272).1
 4
         2. In support of said motion, Defendants argue that their “Motion for Summary Judgment,
 5
     Statement of Facts, and Exhibits, reference extensive confidential testimony and documents
 6
     covered by this Court’s Protective Order entered on May 8, 2019 (See Dkt. No. 072), with the
 7
     majority of the Exhibits containing excerpts from confidential documents. See also Order dates
 8
     June 5, 2020 at Dkt. No. 188; Sealed Order dated December 11, 2020 at Dkt. No. 271.” (Dkt. No.
 9

10   272).

11       3. “A party seeking to seal a judicial record bears the burden of overcoming th[e] strong

12   presumption [in favor of public access] by meeting the ‘compelling reasons’ standard.”
13   Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (citing Foltz v. State
14   Farm Mutual Auto. Insurance Company, 331 F.3d 1122, 1135 (9th Cir.2003)). “That is, the party
15   must articulate[ ] compelling reasons supported by specific factual findings, that outweigh the
16
     general history of access and the public policies favoring disclosure, such as the public interest
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     in understanding the judicial process.” Kamakana, 447 F.3d at 1178-79 (internal citations and
18
     quotations omitted).
19
         4. “In turn, the court must ‘conscientiously balance[ ] the competing interests’ of the public
20
     and the party who seeks to keep certain judicial records secret.” Id. at 1179 (quoting Foltz, 331
21
     F.3d at 1135). “After considering these interests, if the court decides to seal certain judicial
22

23   records, it must ‘base its decision on a compelling reason and articulate the factual basis for its

24   ruling, without relying on hypothesis or conjecture.’” Id. (quoting Hagestad v. Tragesser, 49

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      On December 18, 2020, Defendants filed a separate Motion to Seal 14 additional “non-electronic
27   exhibits” under seal. (Dkt. No. 276).
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 1   F.3d 1430, 1434 (9th Cir.1995) (citing Valley Broadcasting Co. v. U.S. Dist. Ct., 798 F.2d 1289,
 2   1295 (9th Cir.1986))
 3
        5. The “strong presumption of access to judicial records applies fully to dispositive
 4
     pleadings, including motions for summary judgment and related attachments.” Kamakana, 447
 5
     F.3d at 1179. The Ninth Circuit has adopted this “principle of disclosure” because “the resolution
 6
     of a dispute on the merits, whether by trial or summary judgment, is at the heart of the interest in
 7
     ensuring the ‘public's understanding of the judicial process and of significant public events.’” Id.
 8
     (quoting Valley Broadcasting, 798 F.2d at 1294; accord Foltz, 331 F.3d at 1135–36 (noting that
 9

10   “ ‘summary judgment adjudicates substantive rights and serves as a substitute for trial’ ”)

11   (quoting Rushford v. The New Yorker Magazine, 846 F.2d 249, 252 (4th Cir.1988)). “Thus,

12   ‘compelling reasons’ must be shown to seal judicial records attached to a dispositive motion.”
13   Id. (citing Foltz, 331 F.3d at 1136). “The ‘compelling reasons’ standard is invoked even if the
14   dispositive motion, or its attachments, were previously filed under seal or protective
15   order.” Id. (citing Foltz, 331 F.3d at 1136)
16
        6. Defendants in this case have not even attempted to articulate a compelling reason for filing
17
     their motion for summary judgment, statement of facts, or accompanying exhibits under seal. In
18
     fact, as the Ninth Circuit has explicitly held, “the “the presumption of access is not rebutted
19
     where documents which are the subject of a protective order are filed with the court as
20
     attachments to summary judgment motions” and that “to retain any protected status for
21
     documents attached to a summary judgment motion, the proponent must meet the
22

23   ‘compelling reasons' standard and not the lesser ‘good cause’ determination.” Foltz v. State Farm

24   Mutual Auto. Insurance Company, 331 F.3d 1122, 1135 (9th Cir.2003).

25      7. Defendants qualified immunity defense makes their request to file under seal particularly
26   egregious. If, for example, the Court find that a question of fact exists as to whether the officers
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 1   used excessive force, but dismisses Plaintiff’s claim based on qualified immunity grounds, any
 2   future case with substantially similar facts would also get dismissed on qualified immunity
 3
     grounds since this case was concealed from public view. Sealing motions for summary judgment
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     (and supporting exhibits) in cases such as this would defeat any potential justification for granting
 5
     immunity in the first place. If sealing these filings were common practice, it is difficult to imagine
 6
     how Plaintiff could possibly be expected to establish that existing precedent has placed the
 7
     constitutional question beyond debate, where those cases do not exist in the public record.
 8
     Defendant’s request to seal these filings in wholly inappropriate and unwarranted under the
 9

10   circumstances. See e.g., Demaree v. Pederson, 887 F.3d 870, 884 (9th Cir. 2018).

11      8. Because Defendants have failed to meet their burden of establishing a articulating a

12   compelling reason for sealing its Motion for Summary Judgment, Statement of Facts, and
13   Exhibits, the presumption of public access must prevail and Defendants’ Motion(s) to Seal must
14   be denied.
15          For the foregoing reasons, Plaintiff respectfully requests that this Court deny Defendants’
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     Motion(s) to Seal (Dkt. 272, 276).
17
            Respectfully submitted this 21st day of December 2020.
18
                                                 PRICE LAW GROUP, APC
19
                                                 /s/David A. Chami
20                                               David A. Chami, AZ #027585
21                                               THE LAW OFFICES OF HAYTHAM FARAJ, PLLC
22                                               Haytham Faraj, CA #2914186

23                                               Attorneys for Plaintiff
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 1                                CERTIFICATE OF SERVICE

 2          I hereby certify that on December 21, 2020, I electronically filed the foregoing document
 3
     with the Clerk of the Court using the ECF system. Notice of such filing will be sent to all
 4
     attorneys of record in this matter. Since none of the attorneys of record are non-ECF participants,
 5

 6   hard copies of the foregoing have not been provided via personal delivery or by postal mail.

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 8
                                                              PRICE LAW GROUP, APC
 9
                                                              /s/ Florence Lirato
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